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NOT FOR PUBLICATION

UN[TED STATES DIS'I`RICT COURT
DISTRICT OF NEW JERSEY

 

LOGIC TECHNOLOGY
DEVELOPMENT LLC,

Plaintift`, Civil Action No. 17-4630 (MAS) (TJB)

v_ MEMORANDUM OPINION

AVI LEVY and ELECTRONIC
CIGARETTE USA [NC.,

Defendants.

 

 

SHIPP._. District Judge

This matter comes before the Court upon Defendants Avi Levy (“Levy") and Electronic
Cigarette USA Inc.’s (“E-Ci g USA”) (collectively, “Defendants”) motion to dismiss the Complaint
pursuant to Rules l2(b)(2), (3), and (6) of the Federal Rules of Civil Procedure. (ECF No. 12.)
Plaintit`f Logic Technology Development LLC (“Plaintifl”) filed opposition (ECF No. 14), and
Defendants filed a reply (ECF No. 20).

The Court has carefully considered the parties’ submissions and decides the matter Without
oral argument pursuant to Local Civil Rule 78.1. For the reasons stated below, Defendants’ Motion
to Dismiss is denied, without prejudice. Defendants may file a renewed motion upon the
completion of jurisdictional discovery.

I. Background

Plaintiff supplies disposable and rechargeable electronic cigarette products through its

trademarked brand “LOGIC.” (Compl. 11 IO, ECF No. l.) Defendants are also in the business of

supplying electronic cigarette products (Id. 1| 19.) On June 23, 2017, Plaintii"f filed a verified

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complaint, seeking “damages and injunctive and other relief against [Defendants] for trademark
infringement, unfair competition, false designation of origin, cybersquatting, and other deceptive
trade practices.” (Id. ‘[[ l.)

Plaintiff alleges that Defendants engaged in the promotion, sale, and distribution of
electronic cigarettes in direct infringement of Plaintiff’s trademarked brand through use of the
mark “Logic Smoke.” (Id. ‘|]1[ 19-20, 26.) Specifically, Plaintiff alleges that Defendants’ mark
“Logic Smoke” is confusineg similar to its own registered trademark, and that Defendants’
unauthorized use of the similar mark would mislead potential consumers. (Id. 1111 22-32, 39-40.)
As a result, Plaintiff alleges that Defendants’ conduct was intended to cause confusion and that
Defendants intended to profit from the similarity between the two marks. (Id. 1111 41-42.)

Plaintiff contends that a monetary damages award could not idlly compensate it for its
injuries and seeks injunctive relief`,l award of actual damages, “Defendant’s [sic] profits, enhanced
damages and prohts, reasonable attorneys’ fees, and costs of the action under Sections 34 and 35
of the Lanham Act, 15 U.S.C. §§ lll6, lll'l`,” and pre- and post-judgment interest. (Id. ‘[[ 43.)
Plaintiff's Complaint alleges seven counts against Defendants, asserting claims fort (l) Federal
trademark infringement under 15 U.S.C. § lll4; (2) unfair competition and false advertising in
violation of the Lanham Act, 15 U.S.C. § ll25(a); (3) false designation of origin and passing off
in commerce in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § l 125(a);
(4) cybersquatting in violation of the Lanham Act, 15 U.S.C. § l lZS(d)(l)(A); (5) violation of the
New Jersey Consumer Fraud Act, N.J.S.A. § 56:8-2; (6) unfair competition in violation of N.J .S.A.

§ 56:4; and (7) trademark infringement and unfair competition in violation of state common law.

(COmPl- iii 9(€1)-(3)-)

 

' Plaintiff has not made any application for emergent relief.

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On December 4, 2017, Defendants filed a Motion to Dismiss for lack of personal
jurisdiction, improper venue, and failure to adequately meet the pleading requirement through
Plaintiff’s “lumping” together of Defendants. (Defs.’ Moving Br. 2-11, ECF No. l2-l .)

II. Discussion

A. Personal Jurisdiction Standard

When a motion to dismiss for lack of personal jurisdiction is filed, the plaintiff bears the
burden of proof in establishing the existence of jurisdiction Mellon Bank (East) P.S.F.S., Nm‘ 'I
Ass 'n v. Fari'no, 960 F.2d 1217, 1223 (3d Cir. 1992). In deciding a motion to dismiss for lack of
jurisdiction, “a court is required to accept the plaintiffs allegations as true, and is to construe
disputed facts in favor of the plaintift`.” Toys “R ” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 457
(3d Cir. 2003) (citing Pinker v. Roche Holdr`ngs Ltd., 292 F.3d 361, 368 (3d Cir. 2002)). As to
jurisdiction, however, “the plaintiff must sustain its burden of proof in
establishing jurisdictional facts through sworn affidavits or other competent evidence . . . not mere
allegations.” Patterson v. Fed. Bm'eau ofhzvestigation, 893 F.2d 595, 603-04 (3d Cir. 1990)
(intemal quotation omitted).

Rule 4(e) of the Federal Rules of Civil Procedure authorizes a federal district court to assert
personal jurisdiction over a non-resident defendant to the extent permissible under the law of the
forum state in which the district court sits. Stmbelt Corp. v. Noble, Denton & Assocs., Inc., 5 F.3d
28, 31 (3d Cir. 1993). New Jersey’s long-arm statute “provides for jurisdiction up to the limits of
the protection afforded to nonresidents by the Due Process Clause of the Fourteenth Amendment."
Telcordia Tech, Inc. v. Telkom SA Ltd., 458 F.3d 172, l?? (3d Cir. 2006); Carteret Sav. Bank, FA
v. Shnshan, 954 F.2d l4l, 145 (3d Cir. 1992); see generally N.J. Ct. R. 4:4-4. A court has

jurisdiction, therefore, if it is determined that the defendant has “certain minimum contacts with

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[New Jersey] such that the maintenance of the suit does not offend traditional notions of fair play
and substantial justice." Int 'l Slzoe Co. v. Washington, 326 U.S. 310, 316 (1945).

A court is authorized to exercise two types of personal jurisdiction: general jurisdiction or
specific jurisdiction Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414-15
(1984). General jurisdiction over a corporation may be exercised where the corporation is “fairly
regarded as at home." Goodyear Dimlop Ti`res Operati`ons, .S'.A. v. Brown, 564 U.S. 915, 924
(2011). A corporation is at home where it has its “place of incorporation and principal place of
business" Daimler AG v. Bauman, 5’71 U.S. ll?, 137 (2014), or where its affiliations with the
state are so “continuous and systematic” as to render it essentially at home in the forum state.
Goodyear, 564 U.S. at 919. Plaintiff does not appear to be arguing that the Court has general
jurisdiction over Def`endants, and nothing currently before the Court suggests that general personal
jurisdiction would be appropriate. The Court, therefore, focuses the analysis on specific
jurisdiction

Specif`ic jurisdiction allows a Court to exercise jurisdiction over a non-resident defendant
when: (1) the defendant purposefully avails itself of the privilege of conducting its activities within
the forum; (2) the litigation arises out of or relates to at least one of those activities; and (3) the
exercise of jurisdiction comports with fair play and substantial justice. 0 'Coimor v. Sandy Lane
Horel Co., Ltd., 496 F.3d 312, 317 (3d Cir. 2007). Plaintiff argues that there is evidence of three
online sales made by Defendants to New Jersey residents and, therefore, the Court has jurisdiction
(Pl.’s Opp’n Br. 18, ECF No. 14.) Defendants, however, contend that “the ability to order
merchandise from an e-commerce website and have it shipped anywhere around the country . . .
has never been sufficient in this District to establish personal jurisdiction." (Defs.’ Moving Br. 5,

ECF No. 12-1.)

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The key inquiry for the Court to determine whether personal jurisdiction exists is the degree
of the website’s interactivity with the forum state. See Machulslty v. Hall, 210 F. Supp. 2d 531,
538-39 (D.N.J. 2002). When a website is actively used to conduct business over the intemet,
personal jurisdiction is appropriate Zippo Mfg. Co. v. Zz'ppo Dot Com, Inc., 952 F. Supp. 1119,
1124 (W.D. Pa. 1997). On the other hand, personal jurisdiction is never appropriate for passive
sites. Ambersou Holdiugs LLC v. Westsia’e Story Newspaper, 110 F. Supp. 2d 332, 336 (D.N.J.
2000). Here, the information before the Court is insufficient to determine whether specific
personal jurisdiction exists.

The fact that New Jersey residents could view Defendants’ websites or that the products
eventually ended up in the possession of New Jersey residents is not enough to support a finding
of personal jurisdiction. Harris v. SportBi'ke Tr'ack Gecir, 2015 WL 5648710, at *7 (D.N.J. Sept.
24, 2015). There must be evidence that Def`endants purposefully availed themselves “of
conducting activity in the forum state, by directly targeting [their] Web site to the state, knowingly
interacting with residents of the forum state via its web site, or through sufficient other related
contacts." Toys “R " Us, 318 F.3d at 454. In order to warrant a finding of personal jurisdiction,
Plaintiff must show that the sales were not “fortuitous,” “random,” and “attenuated" because
contacts of these kinds have been held to be insufficient for the court to exercise personal
jurisdiction. Bw'gerKing Corp. v. Rud:ewi'c:, 471 U.S. 462, 475 (1985).2

The Court, therefore, will deny the motion to dismiss, without prejudice, and will grant the

parties three weeks from the date of this decision to conduct the jurisdictional discovery necessary

 

3 The Court also notes that no party has briefed the second prong necessary for specific jurisdiction,
namely, whether this litigation “arises out of or relates to" the three New Jersey sales, which appear
to be online purchases made by non-parties.

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to determine whether personal jurisdiction exists. Upon the completion of jurisdictional discovery,
Defendants may renew their motion or file another appropriate application3

III. Conclusion

For the reasons set forth above, it is hereby ordered that Defendants’ Motion to Dismiss is
denied without prejudice The parties must complete jurisdictional discovery by August 3, 2018.

An order consistent with this memorandum Opinion Will be entered.

 

MiCHAEL A. SHi:gF"

UNrrED STATES DisTRicT JUDGE

Dated: Julyi[lj'm 8

 

3 The Court declines to reach the issues regarding venue or group pleading at this time. Tliese
issues may be raised in a subsequent submission alier the Court resolves the jurisdictional question.

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